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                            SO U TH ER N D ISTR ICT O F FL O RID A

                         CASE NO.22-20422-CR-Y DDLEBROOKS(s)

  IJM TED STATES OF AM ERJCA


  ISM AEL SO T O A R O C H O ,

                D efendant.
                                            /

                                     FA CT U AI,PR O FFE R

         TheUrlited StatesofAmericaandIsmaelSotoArocho(thelr efendanf')agreethat,had
  this case gone to trial,the United States would haveproven the following facts,among others,

  beyond a reasonable doubt:

         On or aboutAugust24,2022,the Defendantdid knowingly and intentionally attem ptto

  possessw ith intentto disG bute approxim ately 9.17 kilogrnm s ofcocaine,a Schedule11controlled

  substance.

         On August17,2022,theDefendantlearnedthatapproxim ately 9.17ldlogramsofcocaine

  would be arriving in the United Statesvia a shipping vesselfrom theDom iilican Republic.The

  cocaine wasto beattached tothetmdersideofthevesselto avoid detection by law erlforcem ent.

         The shipping vessel carrying approxim ately 9.17 ldlogrnm s of cocaine anived in the

  Southem D istrictofFlorida and docked on the M inm iRiveron the nightofA ugust23,2022.On

  them orning ofAugust24,2022,theDefendantassisted in theretrievalofwhathe believed to be

  the cocaine from the tm derside ofthevessel.

         The D efendantthen drove hisw llite Ford van to a nearby hotel.O nce inside the hotel,he
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  realized the cocaine wasin factshnm narcotics containing tracldng devicesplaced the previous

  day by 1aw enforcem ent.Thetruecocaine had been intercepted by 1aw enforcementofficersafter

  thevessel'sarrivalintheUnited States.TheDefendantattem ptedtodisposeofthe sham narcotics

  by tllrowing them into anearby lake.

         Thefactsdescdbed abovearenotintended to be acompleterecitation ofthe factsofthis

  caseand arem erely intended toform abasisfortheDefendant'sknowing,willful,andintentional

  plea ofguilty

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